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Exhibit A
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- Summons CML DOCKET NO. | Trial Court of Massachusetts
. JIkS CV LO6¥%>D | The Superior Court
CASE Nanhe Atry Dennis P: McManus Clerk of Courts
Ec Py ATr, Worcester : County
DeSe R. Vers ESy count ENED RODRESS
VS. tis Mag ORE Worcester Superior Court
| ‘ 2a 225 Main Street
Cc
tee Frei cnt Tools Un baer Worcester, MA 01608
se hi Phone: 502-831-2000
Heber Foes Ar
THIS SUMMONS IS DIRECTED TO “Tiols LosA, SP. (Defendant's name}

 

You ate being sued, The Plaintifi(s) named above has started a jawsuit against you. A capy af the Plaintiff's Complaint filed
against you is attached to this summons and the original compiaint has been filed in the \nvrerteste Sepeior Court,
YOU MUST ACT: PROMPTLY TO mel Your RIGHTS.

Le fy.

1, You_must respond to this lawsuit in writing within 20 days. - fU ¥ eo He

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if you donot respond, the court may decide the case against you arid award the Plaintiff everything asked for in the complaint, —

You will also lose the opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect to

resolve this matter with the Plaintiff. If you need more time to respond, you may request an extension of time in writing
from the Court.

2, How to Respond,

To respond to this lawsuit, you must file a written to response with the court and mail a copy to the Plaintiffs Attorney (or the
Plaintiff, if unrepresented). You can do this by:
a) Filing an signed original response with the Clerk's Office for Civil Business, loorciste SipesiaCourt
Aas Mag Steat, Werteste- MA | beeddtess), by mail or In person AND

b) Delivering or mailing @ copy of your response to the Plaintiffs Attorney/Plaintiff at the following address:
“Shores MN. INCL cust, Ex.
SuMivw o Bullion £ Loan b
3, What to esde in alae Renee, ellentes, Mr CIHR
An "Answer" is one type of response to a Complaint, Your Answer must state whether you agree or disagree with the fact(s}
alleged In each paragraph of the Compiaint. Some defenses, called affirmative defenses, must be stated In your Answer or
you may lose your right to use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that
are based on the same facts or transaction described in the Complaint, then you must include those claims in your Answer.
Otherwise, you may lose your right to sue the Plaintiff about anything related to Ithis tawsuit. ff you want to have your case

heard by a jury, you must specifically request a jury trial in your court no more than 10 days after sending your Answer.

 

 

 

 

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Case 4:22-cv-40098-NMG Document 1-1 Filed 09/06/22 Page 3 of 12

 

3 (cont>. You can also respond to a Complaint by filing a "Motion to Dismiss," if you believe that the complaint is tegally
invalid <or legally insufficient. A Motion to Dismiss must be based on one of the legal deficiencies or reasons listed under
Mass. IR. Cy. P. 42, If you are filing a Motion to Dismiss, you must also comply with the filing procedures for *Civil Motions"
describ ed inthe rules of the Court in which the complaint was filed, available at:

f -leqal.

4, Legatt Assistance.

You maay wish to get legal help from a lawyer. [f you cannot get fegal help, some basic information for people who represent
themse ivesis available at yww.mass govicourts/selfhelp.

5. Required information on All Filings:

The "civil docket number appearing at the top of this notice is the case number assigned to this case and must appear on the
front af your Answer or Motion to Dismiss. You should refer to yourself as the “Defendant,”

stice on, de a0 20 aa . (Seal)

Witiess Hon, ‘Heidi E. Brigyer

    
 
  

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. Chiet J

Clark-Magistrate

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: * ote
Note: The number assigned ta the Complaint eo Clerk-Magista® at the biginning of the lawsuit should ba indleated on the summons before It is served on the Defendant.

 

PROOF OF SERVICE OF PROCESS

 

! hereby certify thaton = ss Css Served a copy of this summons, together with a copy of the complaint
in this action, on the defendant named in this summons, in the following manner (See Mass. R. Civ. P. 4{d}(1-5}):

 

 

 

Dated: Signature: !

 

N.B. TOPROCESS SERVER:

PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE OERFENDANT IN THIS BOX - BOTH ON THE ORIGINAL
SUMMONS AND ON THE COPY QF THE SUMMONS SERVED ON THE DEFENDANT. |

Date:

 

 

 

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Case 4:22-cv-40098-NMG Document 1-1 Filed 09/06/22 Page 4 of 12

COMMONWEALTH OF MASSACHUSETTS

WORCESTER, ss. SUPERIOR COURT
C.A. NO. 2285 CV 00680

 

JOSE RIVERA,
Plaintiff
Vv.
HARBOR FREIGHT TOOLS USA, INC.

Defendant

 

PLAINTIFF JOSE RIVERA’S COMPLAINT AND JURY DEMAND

Plaintiff Jose Rivera (“Plaintiff”), by the undersigned attorneys, as and for his Complaint

herein alleges as follows:
PRELIMINARY STATEMENT

1. This is an action for damages arising from the severe and disfiguring personal injuries
suffered by Plaintiff while operating a Chicago Electric Power Tool 10-inch 13-amp bench top
table saw manufactured, sold and distributed by Defendant Harbor Freight Tools USA, Inc.
(“Harbor Freight”).

PARTIES

2. The Plaintiff, Jose Rivera, is an individual who resides at 48 Maverick Street,
Fitchburg, Worcester County, Massachusetts.

3. Upon information and belief, Defendant Harbor Freight Tools USA, Inc. is a
Delaware Corporation, maintaining its principal place of business at 263541 Agoura Road,

Calabasas, California.

 

 

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‘Superior Court - Worcester

Dockat Number i

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JURISDICTION & VENUE 2
4, This Court has personal jurisdiction over Harbor Freight because Plaintiff's accident
occurred in Massachusetts and Plaintiff's claims arise from the Defendant's:
a, transacting business in the Commonwealth of Massachusetts;
b. contracting to supply services or things in the Commonwealth of
Massachusetts;
c. causing tortuous injury by an act or omission in the Commonwealth of
Massachusetis; and/or
d, causing tortuous injury in the Commonwealth of Massachusetts by an act
or omission outside of the Commonwealth of Massachusetts and regularly
doing and soliciting business and engaging in other persistent courses of
conduct, and deriving substantial revenue from goods used or consumed
or services rendered in the Commonwealth of Massachusetts
THE FACTS
5. Upon information and belief, on or before the year 2019, Harbor Freight was the
designer, manufacturer, tester, supplier, seller, and/or distributor of a Chicago Electric Power
Tools 10-inch 13-AMP bench table saw (hereinafter the “Subject Saw”) and distributed, supplied
and/or sold the Subject Saw.
6. On or before Jume 26, 2019, Harbor Freight distributed, suppiled and/or sold the
Subject Saw for use by contractor Jose Perez, Plaintiff's employer.

7. Harbor Freight, as a manufacturer and distributor of power saws, defectively designed

the saw and failed to utilize available safer technology in its saws.

 
 

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8. The Subject Saw, like all table saws sold in the United States, is required to be sold
with a blade guard. However, the component blade guard on the Subject Saw introduced on or
about 2010, failed to adequately inform the user of the component parts, specifically the added
feature of an independent riving knife.

9, Asa result of the lack of instruction regarding the use of the independent riving knife,
users were not properly informed and instructed by Harbor Freight as to the benefits and use of
the independent riving knife, and therefore many users did not use it because they were unaware
of the independent safety benefits it provided separate from the other component parts of the
guard,

10. For years there has also been available technology that, for example, would stop a
power saw blade almost instantly upon contact with human flesh, thereby avoiding the traumatic
injury suffered by Plaintiff.

11. The Defendant failed to pursue licensing and use of this available technology, or to
implement any alternative technology or to mitigate or eliminate the effects of accidental blade
contact with human flesh,

12. The Subject Saw does not incorporate flesh detection or braking technology, or other
comparable safety technology

13. Had Harbor Freight employed these safer available technologies on the Subject Saw,
Plaintiff would not have been injured, or the severity of his injury would have been substantially
reduced,

14, On or about June 26, 2019, Plaintiff, while in the course of his employment, was

severely injured while using the Subject Saw at 390 Madison Street in Fitchburg, Massachusetts

 
 

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Docket Number

(“the Property”). At the time of the accident, Plaintiff was exercising all due care for his own
safety.
COUNT I
(Negligence Against Harbor Freight Tools USA, Inc.)

15. The Plaintiff realleges and repeats each and every allegation contained in the
preceding paragraphs and incorporates each as if fully set forth herein.

16. Harbor Freight was negligent with respect to the designing, manufacturing, testing,
inspecting, distributing and selling of the Subject Saw and was negligent with respect to
equipping the Subject Saw with adequate safeguards, warnings and/or instructions.

17. As the direct and proximate result of Harbor Freight’s said negligence, the Plaintiff
sustained severe and permanent physical injury, suffered great pain of body and anguish of mind,
required extensive hospital and medical care and treatment, iacurred medical expenses, lost time
from work; and his ability to engage in normal and usual activities has been adversely affected.

COUNT 0
(Implied Warranty Against Harbor Freight Tools USA, Inc.)

18, The Plaintiff realleges and repeats each and every allegation contained in the
preceding paragraphs and incorporates each as if fully set forth herein.

19. Harbor Freight impliedly warranted pursuant to Mass Gen. Law ec. 106, §2-314 to
Plaintiff that the subject saw and its component parts were merchantable, safe and fit for ordinary
purposes, Defendant is a merchant with respect to goods of the kind involved in the accident.
The product, component parts of the product and the product warnings and instructions were
defective, and therefore the product was not, in fact merchantable, safe and fit as warranted by

the Defendant. Defendant therefore breached these warranties to the Plaintiff.

 
 

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20, As the direct and proximate result of the Defendant's said breach of warranty, the
Plaintiff sustained severe and permanent physical injury, suffered great pain of body and anguish .
of mind, required extensive hospital and medical care and treatnent, incurred medical expenses, :
lost time from work; and his ability to engage in normal and usual activities has been adversely
affected.

COUNT UI
(Strict Liability Against Harbor Freight Tools USA, Inc.)

21, The Plaintiff realleges and repeats each and every allegation contained in the
preceding paragraphs and incorporates each as if fully set forth herein.

22, Defendant placed the Subject Saw that injured the Plaintiff on the market, knowing
that it would be used without inspection for defect.

23, The Subject Saw that was placed on the market by the Defendant and which injured
the Plaintiff was defective.

24, The defect in the Subject Saw cansed Plaintiff's injury, causing Plaintiff to sustain
severe and permanent physical injury and great pain of body and mind, to require extensive
hospital and medical care and treatment and medical expenses, aud to suffer lost time from work,

and impaired his ability to engage in normal and usual activities.

WHEREFORE, the Plaintiff demands judgment against Harbor Freight Tacis USA, Inc.
in an amount sufficient to compensate him for his losses and damages, together with interest and

costs.

THE PLAINTIFF CLAIMS TRIAL BY JURY

 
 

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Superior Court - Worcester
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Dated: June 16, 2027

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Respectfully submitted,

LAO —m

ard J, Sullivan, BBO#554085
James M. McLaughlin, BBO#676079
SULLIVAN & SULLIVAN LLP
83 Walnut Street
Wellesley, Massachusetts 02481
Ph: (781) 263-9400
Fx! (781) 239-1360
Email: rsullivan@sullivantip.com
jmelaughlin@sullivanilp.com

 
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Superior Court - Worcester

 

 

Docket Number

 

 

 

 

 

 

 

 

 

 

 

 

CIVIL ACTION COVER SHEET DOCKET NUMBER Trial Court of Massachusetts
od ABS CY D6 % The Superior Court
PLAINTIFF(S}: Jose Rivere GOUNTY
ADORESS: 24 Maverich Street, Filchnurg, Ma Ot420 Worcester
DEFENPANT(S}: = Harter Freight Teots USA, Inc.
ATTORNEY: Rithard J. Sulivanvtames M, McLaughlin
ADORESS: Sultan & Sullivan, LLP, 83 Watqut Street, ADDRESS: 26541 Agoura Road, Calabasas, Califarmia 91302

 

 

Wellisiay. MA 02481

 

 

 

 

ABO: SS408S/676079
TYPE OF ACTION AND TRACK DESIGNATION (S9¢ reverse sida}
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
B05 Froducts Liability A YES ([] no

“if “Other” please describe:

 

 

STATEMENT OF DAMAGES PURSUANT TO G.L. &. 212, § 34

The following is a full, ttemized and detaited statement of the facts on which the undersigned plaintiff or plaintiff counsel relies to determine money damages. For
thls form, disregard double or treble damage claims; indicate single damages only.

TORT CLAIMS
{attach additional sheets as necessary)

A. Documented medical expenses to date:
1. Total hospital expenses ....... saaneee
2, Total HOCtOr OXPSNSOS oo... sessseseeccsecessarssraneseenceeessedmsashseensesticseersoesstas tnraey sesneassuenmersesneueesessnseausatsenaesenens uses tecene
3. Tolal chiropractic expenses , sevsh ces
4. Total physical therapy experisas puna pea secenenenenestennesoes beneee gee - wee

§. Total other expenses (describe below) ....... sed veueeseseneantessananetsendnésnentontors susbesns siden dnbeeanaehisea evaearevsesaepamtsevaneresensan

App 200,000
4,487.00

 

 

 

 

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B, Documented lost wages and compensation £6 date oo. ssssssstssecssesnesrentsessenssarinsiesnesnesses anussrraistes ser sdberaraunaerinaenassseeesnesanersaneemanniedcaee ates $3,600.00

C. Documented property damages to dated vee
O, Reasonably anticipated future medical and hospital expenses . sebeenesotietse
E. Reasonably anticipated josl wages . saa
F, Other documented items of damages (describe balow) nen

 

 

 

 

 

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G. Briefly describe plainiifs injury, Including the nature and extent of Injury:

CONTRACT CLAINS
(attach ariditional sheets as necessary)

Provide a detalled descedption of caims(s):
TOTAL: $

TOTAL {A-F):$ 298,067

Signature of Attorney/Pro Se Plaintiff: J fide Ln Date: b Wiz

 

RELATED ACTIONS: Please provide the er Rumber, case name, and county of any related actions pending in the Superior Court. *

 

CERTIFICATION PURSUANT TO SJG RULE 4:48
j hereby certify that | have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SC
Rule 1:18) requiring that I pravide my clients with Information about court-connected dispute resolution services and discuss with them the

advantages and disadvantages of the varia: ods oF VIG solution
Signature of Attorney of OF Date: G { f 6G { 7 }

 

 

 

 

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CIVIL TRACKING ORDER POSKET NUMBER
2285CV00680

(STANDING ORDER 1-68)

 

   

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Trial Court of Massachusetts
The Superior Court

 

CASE NAME:
Jose Rivera vs, Harbor Freight Tools USA, inc,

Dennis P, McManus, Clerk of Courts

 

T James M McLaughlin, Esq.
Sullivan and Sullivan, LLP
83 Walnut St
Wellesley, MA 02481

COURT NAME & ADDRESS
Worcester County Superior Court
225 Main Street
Worcester, MA 01608

 

 

TRACKING ORDER - A - Average
You are hereby notified that this case Is on the track referenced above as per Superior Court Standing
Order 1-88, The order requires that the various stages of filigation described betow must be completed not later

than the deadlines Indicated.

STAGES OF LITIGATION

 

    

   

    

FILED BY

SERVED BY HEARD BY

 

Service of process made and return flled with the Court

 
   

08/14/2022

 

Response to the complaint filed (aiso sae MRGP 12}

 
   

10/44/2022

 

 
  

   

      

 

 

 

 

 

 

 

 

 

 

All motians under MRGP 12, 19, and 20 10/14/2022 11/14/2022 12/13/2022
All motions under MRCP 15 oat oon | o9/1 1/202 09h tiz023
All discovery requests and depositions served and non-expert
depositions completed o6/a5/202
All motions under MRCP §6 o7si202£-T ogosi202
Final pre-trial conference held and/or finn trial date set 42/02/2024
Case shall be resolved and judamant shall issue by 06/16/2025
Tha final pre-trial deadiine Is not the scheduled date of the conference. You will be natified of that date at a later time.

Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.

This case is assignad to

 

DATE ISSUED ASSISTANT CLERK

06/17/2022 Laurie Jurglel

 

PHONE
{508)831-2350

 

 

 

 

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